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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF MISSOURI
                             SOUTHEASTERN DIVISION

  THE STATE OF MISSOURI,          )
  ex rel. ERIC S. SCHMITT, in his official
                                  )
  capacity as Missouri Attorney General,
                                  )
                                  )
        Plaintiff,                )
                                  )
  v.                              )
                                  )
  THE PEOPLE’S REPUBLIC OF CHINA, )
  THE COMMUNIST PARTY OF CHINA, )               Case No.: 1:20-cv-00099-SNLJ
  NATIONAL HEALTH COMMISSION      )
  OF THE PEOPLE’S REPUBLIC OF     )
  CHINA, MINISTRY OF EMERGENCY    )
  MANAGEMENT OF THE PEOPLE’S      )
  REPUBLIC OF CHINA, MINISTER OF )
  CIVIL AFFAIRS OF THE PEOPLE’S   )
  REPUBLIC OF CHINA, PEOPLE’S     )
  GOVERNMENT OF HUBEI             )
  PROVINCE, PEOPLE’S GOVERNMENT )
  OF WUHAN CITY, WUHAN INSTITUTE )
  OF VIROLOGY, AND CHINESE        )
  ACADEMY OF SCIENCES,            )
                                  )
        Defendants.               )




                       BRIEF OF AMICUS CURIAE
     LAWYERS FOR UPHOLDING INTERNATIONAL LAW IN OPPOSITION TO
        PLAINTIFF THE STATE OF MISSOURI’S COMPLAINT AGAINST
          DEFENDANTS THE PEOPLE’S REPUBLIC OF CHINA, ET AL.
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                                  STATEMENT OF INTEREST

           As noted in the Motion for Leave to File this amicus curiae brief, Movant Lawyers for

  Upholding International Law is comprised of Dr. Geert-Jan Alexander Knoops and Dr. Tom

  Zwart. Both Dr. Knoops and Dr. Zwart are leading experts in the field of international law, and

  have specific knowledge regarding the interplay between the Chinese government and

  international legal matters. Given Movant’s expertise in this field, as well as the unprecedented

  and novel nature of Petitioner State of Missouri’s Complaint, Movant has a special interest in

  providing this Court with analysis regarding the legal deficiencies of the Complaint and

  requesting that this Court consider dismissing the Complaint sua sponte.

           The Complaint was filed on April 21, 2020 and summons was issued on Defendants on

  July 17, 2020. No other action has been taken in this matter.

                                         INTRODUCTION

           On April 21, 2020, Missouri Attorney General Eric Schmitt initiated proceedings in the

  federal District Court against the People's Republic of China and some of its entities, such as

  the National Health Commission, the Chinese Academy of Sciences, and the local governments

  of Hubei and Wuhan.1

           With the help of a 47-page complaint, AG Schmitt is seeking recovery for the loss of

  life, human suffering and economic turmoil resulting from the COVID-19 virus as experienced

  by Missourians. According to AG Schmitt, the Corona pandemic was due to a failure to act by

  the Chinese authorities. The Missouri case, which has since been joined by the state of

  Mississippi, is one of several such cases, including class actions, which have been brought in

  the U.S. against China.

           This brief proceeds in four sections. In section 2, the arguments put forward by Missouri

  will be analysed and the prospect of their success will be assessed. Section 3 will explain why


  1
      See Compl., Doc. # 1, 04/21/20.

                                                   2
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  bringing the case fits into a pattern that has emerged during the past two decades within federal

  relations in the US. Section 4 contains some concluding observations.

                                              ARGUMENT

  I.       Missouri Does Not Have An Arguable Case

           A.       Standing

           Under federal U.S. law, a claimant needs to pass a three-pronged test in order to have

  standing:2

           1) She or he must have suffered an ‘injury in fact’, i.e. an invasion of a legally protected

                interest. This invasion must be concrete and particularized, and actual or imminent

                rather than conjectural or hypothetical.

           2) There must be a causal connection between the injury and the conduct complained

                of. This means that the injury has to be fairly traceable to the challenged action of

                the defendant and should not be the result of the independent action of some third

                party not before the court.

           3) It must be likely, as opposed to merely speculative, that the injury will be redressed

                by a favourable decision by the court.

           U.S. standing law is, therefore, close to the private interest model, which regards injury

  to body, property, or reputation as a prerequisite for standing. Overall, courts have kept out

  those who could not claim to have a personal interest in the outcome.

           In the case at hand, Missouri has much difficulty in meeting the second requirement.

  The state claims injury in fact as being the costs in terms of health, life, the economy and the

  toll on human relationships, but it has failed to demonstrate that there is a causal relationship

  between the alleged injury and the conduct complained of.




  2
      Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992).

                                                    3
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         At first sight, the state might be able to circumvent this standing requirement by relying

  on a concept introduced by the Supreme Court in Massachusetts v. E.P.A. in which a number

  of states’ Attorneys General had challenged the refusal of the federal Environmental Protection

  Agency to regulate carbon dioxide and other greenhouse gasses as pollutants.3 The Court's

  majority, led by Justice Stevens, pointed out that when a state enters the Union it surrenders

  certain sovereign prerogatives.4 Although they have delegated these powers to the Union, the

  states still retain a residual interest in the way they are being exercised. This 'special solicitude'

  provides them with standing to initiate proceedings to protect these quasi-sovereign interests.5

  This special solicitude standing appears to trump the three-pronged test applied by the courts in

  'ordinary' standing cases.

         However, this special solicitude standing doctrine is not an entrenched part of the

  Court's case law. First, the judgment in Massachusetts v. E.P.A. was a narrow 5-4 decision,

  accompanied by a fierce dissenting opinion submitted by Chief Justice Roberts in which the

  'special solicitude' concept was heavily criticised by the Justices who were in the minority.6

  Before the concept could be regarded as part of stare decisis, a confirmation in a subsequent

  case was therefore required.

         The Texas v. U.S. case, which was brought in 2014 by a large number of Attorneys

  General, seemed well suited for this purpose.7 The Attorneys General challenged administrative

  actions taken by the Obama administration making the deportation of undocumented aliens

  without criminal histories the lowest priority for removal and giving a more secure status to




  3
    549 U.S. 497 (2007).
  4
    Id. at 519.
  5
    Bradford C. Mank, State Standing in United States v. Texas: Opening the Flood Gates to
  States Challenging the Federal Government, or Proper Federalism?, 2018 U. Ill. L. Rev. 211
  (2018).
  6
    549 U.S. at 536.
  7
    809 F.3d 134 (5th Cir. 2015).

                                                    4
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  undocumented immigrants who are the parents of U.S. citizens.8 The United States Court of

  Appeal for the Fifth Circuit decided that the orders issued by President Obama violated the

  rulemaking requirements of the Administrative Procedure Act.9 The Court found that the

  Attorneys General had standing on the basis of the special solicitude test.10 However, the much

  anticipated judgment of the Supreme Court did not bring the desired clarity.11 As a result of the

  unexpected passing of Justice Scalia, the case had to be decided by the eight remaining Justices,

  who split 4-4.12 Consequently, the judgment of the Court of Appeal was affirmed, but this

  decision did not have any precedential value.

         Even if Missouri would be entitled to special solicitude standing in cases regarding

  federalist or even national issues, it is highly doubtful whether it could also claim a quasi-

  sovereign interest in international matters, since concepts as the foreign affairs doctrine and the

  political question doctrine tend to limit the capacity of the states to interfere with the national

  government's prerogative in foreign affairs.13

         B.      The Political Question Doctrine

         Since the complaint clearly interferes with U.S. foreign policy towards China, which

  currently amounts to a balancing act involving highly sensitive trade negotiations, it is bound

  to be declared a non-justiciable political question. The case of Marbury v Madison is usually

  considered the cradle of the non-justiciability doctrine.14 In his opinion, Chief Justice Marshall

  made a distinction between decisions based on duties assigned by law and discretionary




  8
    Id.
  9
    Id. At 177–78.
  10
     Id. at 150–63.
  11
     U.S. v. Texas, 579 U.S. __, 136 S. Ct. 2271 (2016).
  12
     Id.
  13
     Daniel Abebe and Aziz Z. Huq, Foreign Affairs Federalism: A Revisionist Approach, 66
  Vand. L. Rev. 723 (2013).
  14
     5 U.S. 137 (1803).

                                                   5
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  decisions. The former were suited to adjudication by the courts, while the latter ought to be

  decided by the political branches.15

          In Justice Brennan’s majority opinion in Baker v Carr the discretion/non-discretion

  distinction was replaced by a division into six categories.16 According to Justice Brennan an

  issue is non-justiciable in case of:

                a textually demonstrable constitutional commitment of the issue to a coordinate

                 political department;

                a lack of judicially discoverable and manageable standards for resolving it;

                the impossibility of deciding the issue without an initial policy determination of a

                 kind clearly not for judges to make;

                the fact that adjudication would result in a lack of respect for one of the coordinate

                 branches;

                the need to adhere unquestioningly to a political decision already made;

                and the embarrassment that could be caused by more than one department

                 pronouncing itself on the same question.

          According to Justice Brennan, foreign affairs issues tend to be covered by the political

  question doctrine for three reasons: frequently they turn on standards that defy judicial

  application; they may involve the exercise of a discretion demonstrably committed to the

  executive or legislature; or they uniquely demand single-voice statement of the government's

  views.17 For these reasons the Missouri complaint deserves to be dismissed as being non-

  justiciable.

          C.         Immunity

                    1.       Immunity under the Foreign Sovereign Immunities Act and public
                             international law

  15
     See id.
  16
     369 U.S. 186, 217 (1962).
  17
     Id. at 211.

                                                     6
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           Foreign states, like China, enjoy sovereign immunity before U.S. Courts under the

  Foreign Sovereign Immunities Act (FSIA), 28 U.S.C. § 1604, and public international law. AG

  Schmitt has tried to circumvent this bar by listing the Communist Party of China as a defendant,

  while claiming that “the Communist Party is not an organ or political subdivision of the PRC,

  nor is it owned by the PRC or a political subdivision of the PRC, and thus it is not protected by

  sovereign immunity”.18

           This position is contrary to international law, according to which state immunity extends

  to all organs, components, and entities of the state, which, of course, also includes the

  Communist Party. Furthermore, the Secretary General of the Communist Party also serves as

  the head of state, who by definition enjoys the protection of state immunity. The actions

  challenged in the Missouri Complaint are all attributable, either directly or indirectly, to the

  President of China.

                   2.     The commercial activities exception

           In addition, the complaint has invoked the commercial activities exception to sovereign

  immunity under the FSIA, 28 U.S.C. § 1605(a)(2), by claiming that the conduct which allegedly

  caused the pandemic was commercial in nature. These commercial activities allegedly included

  the operation of the Chinese healthcare system; commercial research on viruses conducted by

  the Wuhan Institute and the Chinese Academy of Sciences; the operation of traditional and

  social media platforms for commercial gain; and the production, purchasing and import and

  export of medical equipment.19

           The Complaint fails to identify which specific activities performed by which entity or

  entities should be characterised as 'commercial activities' within the meaning of this provision.




  18
       Compl., Doc. #1, ¶ 19.
  19
       Id. at ¶ 40.

                                                   7
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  Instead, it limits itself to making sweeping and generalised statements and, therefore, it does

  not meet the legal requirements of § 1605(a)(2).20

         Since the Complaint fails to identify concrete activities, it cannot be established whether

  these activities meet the test developed by the U.S. Supreme Court in Verlinden B.V. v. Central

  Bank of Nigeria,21 according to which a foreign state engages in commercial activities when it

  exercises powers that can also be exercised by private citizens.

         Missouri invokes the third clause of § 1605(a)(2), which confers jurisdiction over

  actions that are "based upon ... an act outside the territory of the United States in connection

  with a commercial activity of the foreign state elsewhere that causes a direct effect in the United

  States".22 It fails to demonstrate which direct effects the activities it described in general terms

  may have had in the United States. In Republic of Argentina v. Weltover,23 the U.S. Supreme

  Court stated that in order to be 'direct' the effect must follow as an immediate consequence of

  the foreign state's activity. Missouri has not showed that the activities it listed did have direct

  effects in the US which could be characterised as the immediate consequences of activities

  performed by China or its instrumentalities.

                 3.      The tortious conduct exception

         Furthermore, Missouri has invoked the tortious conduct exception laid down in §

  1605(a)(5) by claiming that the activities which allegedly caused the pandemic amounted to

  torts occurring in the US.24 It has not identified any damage or loss of property which resulted

  from the acts that were listed in the complaint, let alone demonstrated that those occurred in the




  20
     Hoban v. Sovereign Republic of Peru, 204 F.Supp.3d 1368 (S.D. Fla. 2016); Harris v. Vao
  Intourist, Moscow, 481 F.Supp. 1056 (E.D. N.Y. 1979).
  21
     461 U.S. 480 (1983).
  22
     Compl., Doc. #1, ¶ 38.
  23
     504 U.S. 607 (1992).
  24
     Compl., Doc. #1, ¶ 41.

                                                   8
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  United States, to which § 1605(a)(5) is limited, according to the Supreme Court in Argentine

  Republic v. Amerada Hess Shipping Corp.25

                 4.      The Act of State doctrine

         Moreover, since all activities complained of took place within China they are covered

  by the Act of State doctrine, according to which states enjoy immunity for acts performed within

  their territory. The importance of this doctrine was recognized by the U.S. Supreme Court in

  Underhill v. Hernandez,26 where Chief Justice Fuller for a unanimous Court stated that "the

  courts of one country will not sit in judgment on the acts of the government of another, done

  within its own territory." Therefore, the Act of State doctrine provides China with immunity for

  all 'commercial' acts referred to by Missouri.

         In the meantime Republican Senator Tom Cotton (Arkansas) and Republican

  Representative Dan Crenshaw (Texas) have introduced legislation to amend the FSIA, which,

  if enacted, would deprive China of immunity in COVID-19 cases.27 This it would do with

  retroactive effect to January 1st, 2020, while it would also apply to cases which are already

  pending, such as the suit brought by Missouri.

         Congress is prohibited from passing such ex post facto laws by Article 1 § 9 of the U.S.

  Constitution. In addition, even if a later act can set aside an earlier act under the lex posterior

  rule, it cannot revoke the Act of State doctrine, because it has constitutional underpinnings.

  This was made clear by Justice Harlan for an almost unanimous U.S. Supreme Court in Banco

  Nacional de Cuba v. Sabbatino.28 Justice Harlan emphasised that the separation of powers

  prescribes the immunity of foreign states for acts performed within their territory.29 Since the




  25
     488 U.S. 428 (1989).
  26
     168 U.S. 250, 252 (1897).
  27
     Press Release: Cotton, Crenshaw Bill Would Allow Americans to Sue China for Virus
  Damages, Apr. 16, 2020, https://www.cotton.senate.gov/?p=press_release&id=1352.
  28
     376 U.S. 398 (1964).
  29
     Id. at 401.

                                                   9
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   Act of State doctrine has its basis in the Constitution, it can only be set aside or amended through

   a Constitutional amendment and not through an Act of Congress.

          D.      The Defence of Force Majeure

          Furthermore, assuming arguendo that COVID-19 would have its origin in China, the

   country might invoke one of the defences under the law of state responsibility, such as force

   majeure, necessity or distress, which would absolve the country from state responsibility. The

   most prominent defence in this regard would be that of force majeure. This defence has been

   formulated in Article 23 of the International Law Commission’s Articles on the Responsibility

   of States for Internationally Wrongful Acts (ARS) as: “the occurrence of an irresistible force or

   of an unforeseen event, beyond the control of the State, making it materially impossible in the

   circumstances to perform the obligation.”30

          On the basis of the text of Article 23 ARS, five requirements will have to be met for a

   defence of force majeure to be successfully invoked:31

          1) The occurrence of an irresistible force or an unforeseen event;

          2) Beyond the control of the State;

          3) Making it materially impossible in the circumstances to perform the obligation.

          4) The situation should not be due to the State invoking it;

          5) Nor should the State have taken the risk of the situation occurring.

          As far as the irresistibility requirement is concerned, there must be a constraint which

   the State was unable to avoid or oppose by its own means.32 It can be argued that this outbreak


   30
      UN Document A/56/10, Articles on State Responsibility, Art. 23, Int’l Law Commission
   (2001), https://casebook.icrc.org/case-study/international-law-commission-articles-state-
   responsibility.
   31
      Cf. Frederica Paddeu & Freya Jephcott, COVID-19 and Defences in the Law of State
   Responsibility: Part I, EJIL:Talk! (Mar. 17, 2020), https://www.ejiltalk.org/covid-19-and-
   defences-in-the-law-of-state-responsibility-part-i/.
   32
      UN Document, Draft Articles on Responsibility of States for Internationally Wrongful
   Acts, with commentaries, Int’l Law Commission, 76 (2001),
   https://legal.un.org/ilc/texts/instruments/english/commentaries/9_6_2001.pdf.

                                                   10
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   was due to an irresistible force. In order to counter this argument, the plaintiffs will have to

   prove that China would have been able to bring the virus under control far earlier, and that this

   could have prevented a further transmission of the virus abroad.

          To have been unforeseen the event must have been neither foreseen nor of an easily

   foreseeable kind.33 The occurrence of the COVID-19 can arguably be qualified as an unforeseen

   event for China, where the virus suddenly emerged and less so for the states to which the virus

   subsequently spread after the outbreak became apparent.

          Article 23 ARS also requires that the specific event was beyond the control of the state.

   This requirement implies an element of impossibility, in other words, an event that overpowers

   the state.34 In the legal literature there is no consensus on whether the impossibility must be

   absolute. Assuming that this element of absolute impossibility applies, the plaintiffs in the

   Missouri case will have to prove that China had an opportunity to prevent the outbreak.

          Material impossibility of performance may be due to a natural or physical event or to

   humanitarian intervention, or some combination of the two.35 The emergence of an unknown

   virus would qualify as a natural event, from the effects of which China could not escape. To

   validly invoke the defence of force majeure, the State should be able to prove actual

   impossibility rather than increased difficulty of performance.36 In this case China could validly

   claim actual impossibility.

          Moreover, the defence of force majeure does not apply if the event can be attributed to

   the conduct of the State in question, or if the state has taken the risk of that situation occurring.




   33
       Id.
   34
      UN Document A/CN.4/SER.A/1997, 1 Yearbook of the International Law Commission,
   1997, 234, para. 3.
   35
      UN Document, Draft Articles on Responsibility of States for Internationally Wrongful
   Acts, with commentaries, Int’l Law Commission, 76 (2001),
   https://legal.un.org/ilc/texts/instruments/english/commentaries/9_6_2001.pdf.
   36
      Id. at 77.

                                                    11
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   Again, the burden of proof is on the plaintiffs in the present case. It is up to them to demonstrate

   that China was negligent in the prevention of the specific outbreak and in the control thereof.

          Importantly, the outbreak of COVID-19 seems to involve an asymptomatic type of

   transmission and this would mean, therefore, that the first and second condition of Article 23

   have been met.37 In the event that China would invoke the defence of force majeure, the

   plaintiffs bear the burden to show that China did substantially contribute to the specific

   outbreak. Again, the fact that the virus is characterised by an asymptomatic type of transmission

   may also show that China was not reasonably able to swiftly respond to the situation at hand in

   order to suppress the spread of the virus.

          Therefore, in view of the special nature of this specific virus, the outbreak of COVID-

   19 might qualify as triggering the defence of force majeure. Especially in light of the fact that

   much is still unknown about the way in which the virus multiplies and spreads, the first, second,

   fourth and fifth criterion of Article 23 ARS seem to have been met in favour of China.

   II.    The Missouri Case as an Example of Federalist Activism

          The lawsuit brought by Missouri can be regarded as the next phase in the trend of activist

   federalism which has been developing in the US. As the chief legal officers of the respective

   states, the Attorneys General are responsible for enforcing state law and defending the state

   against legal challenges.38 Traditionally, they have initiated court proceedings against the

   federal government to resist its usurpation of the responsibilities of the states as laid out in the

   constitutional arrangements. In addition to these 'vertical' law suits, since the 1990s Attorneys




   37
      Monica Gandhi, Deborah S. Yokoe and Diane v. Havlir, Asymptomatic Transmission, the
   Achilles' Heel of Current Strategies to Control COVID-19, New Eng. J. Med., 2158-2160
   (May 2020), https://www.nejm.org/doi/full/10.1056/NEJMe2009758.
   38
      Margaret H. Lemos & Ernst A. Young, State Public-Law Litigation in an Age of
   Polarization, 97 Tex. L. Rev. 43, 65 (2018).

                                                   12
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   General have increasingly become engaged in 'horizontal' proceedings in which they have tried

   to impact the national policy of the federal government.39

          Thus in 2004, in Massachusetts v. E.P.A., a number of states attorneys general

   successfully challenged the refusal of the federal Environmental Protection Agency to regulate

   carbon dioxide and other greenhouse gasses as pollutants.40 In 2010, several attorneys general

   challenged the constitutionality of the Patient Protection and Affordable Care Act, also known

   as Obamacare, before the Supreme Court. In its judgment in National Federation of

   Independent Business v. Sebelius, the Court upheld most of the provisions of the Act as being

   constitutional.41 In 2014, in United States v. Texas a large number of attorneys general

   challenged administrative actions taken by the Obama administration making the deportation

   of undocumented aliens without criminal histories the lowest priority for removal and giving a

   more secure status to undocumented immigrants who are the parents of U.S. citizens.42 The

   United States Court of Appeal for the Fifth Circuit decided that the order issued by President

   Obama violated the rulemaking requirements of the Administrative Procedure Act.43 This

   decision was affirmed by the Supreme Court in 2016.44 In Texas v. U.S., a number of states

   have again challenged the Patient Protection and Affordable Care Act. The case will be decided

   later this term by the Supreme Court.

          As these cases show, the states' Attorneys General, by bringing these cases, have

   become important players at the national level.45 They are operating within a highly polarized




   39
      The terminology was developed by Lemos & Young, id. at 48.
   40
      549 US 497 (2007).
   41
      567 US 519 (2012).
   42
      809 F. 3d 134 (5th Cir. 2015).
   43
      Id.
   44
      579 US __, 136 S. Ct. 2271 (2016).
   45
      Paul Nolette, Federalism on Trial: States Attorneys General and National Policymaking in
   Contemporary America, (2015); Paul Nolette, The Dual Role of State Attorneys General in
   American Federalism: Conflict and Cooperation in an Era of Partisan Polarization, 47
   Publius: The J. of Federalism 3, 342 (2017).

                                                 13
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   political climate.46 As a result, Attorneys General of the same political persuasion tend to join

   forces, which has let to groups of 'red' (Republican) and 'blue' (Democrat) Attorneys General

   teaming up, sometimes on opposite sides in the same case. Therefore, the case bought by

   Missouri should be regarded an extension of the tendency of Attorneys General to engage in

   national politics.

                                           CONCLUSION

            It is submitted that Missouri does not have an arguable case. Missouri appears to lack

   standing to bring the case, which should be deemed a non-justiciable political question. In

   addition, China and its instrumentalities enjoy immunity in US Courts and the exceptions

   invoked by Missouri, i.e. the commercial activities exception and the tortious conduct

   exception, do not apply. Furthermore, the Act of State doctrine acts as a barrier to the suit.

   Finally, China may successfully invoke the defence of force majeure.

            Through this case, which represents a new phase in the growing federalist activism of

   states Attorneys General in the US, the Attorney General of Missouri probably aims to secure

   a victory in the court of public opinion rather than in the court of law. As such, it is part of a

   highly polarized debate between the US and China which is having a corrosive impact on the

   international political order. Consequently, the international legal order at the moment is the

   only available channel left to secure peace and security. It is the duty and responsibility of the

   legal community to ensure that the legal channel continues to operate properly. We have filed

   this amicus brief to discharge our responsibility in this respect.

            Thus, for the foregoing reasons, the Lawyers for Upholding International Law

   respectfully request that this Court dismiss Plaintiff State of Missouri’s Complaint against

   Defendants, and for such other orders as this Court may find just and equitable.




   46
        Lemos & Young, supra note 38, at 50–64.

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   Dated:     September 25, 2020

                                      Respectfully submitted,

                                      /s/ Geert-Jan Alexander Knoops
                                      Dr. Geert-Jan Alexander Knoops, A09070
                                      Knoops’ Advocaten International Lawyers
                                      Concertgebouwplein 25
                                      1071 LM Amsterdam
                                      P: +31 (0)20-470-5151
                                      F: +31 (0)20-675-0946
                                      office@knoopsadvocaten.nl

                                      /s/ Tom Zwart
                                      Dr. Tom Zwart
                                      Newtonlaan 201, 3584 BH
                                      Utrecht, The Netherlands
                                      P: 316 2705 2580
                                      t.zwart@uu.nl

                                     Lawyers for Upholding International Law

                                     THE SIMON LAW FIRM, P.C.

                                      /s/ Amy Collignon Gunn
                                      Amy Collignon Gunn #45016MO
                                      Elizabeth S. Lenivy #68469MO
                                      800 Market Street, Ste. 1700
                                      St. Louis, Missouri 63101
                                      P: (314) 241-2929
                                      F: (314) 241-2029
                                      agunn@simonlawpc.com
                                      elenivy@simonlawpc.com

                                      Local Counsel for Lawyers for Upholding
                                      International Law




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